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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARY ELIZABETH CERA                           :          CIVIL ACTION
                                              :
              v.                              :
                                              :
KILOLO KIJAKAZI, Acting                       :
Commissioner of Social Security               :          NO. 20-6116

                                        ORDER

       AND NOW, this 10th day of November, 2021, upon consideration of Plaintiff’s

brief (Doc. 15), Defendant’s Uncontested Motion to Remand (Doc. 16), and the

administrative record (Doc. 10), IT IS HEREBY ORDERED that the Motion for Remand

is GRANTED, and the case is REMANDED for further proceedings.

       This remand is ordered pursuant to the fourth sentence of 42 U.S.C. § 405(g). The

Clerk of Court shall mark this case closed for statistical purposes.

                                           BY THE COURT:

                                           /s/ ELIZABETH T. HEY

                                           ELIZABETH T. HEY, U.S.M.J.
